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 1                                      UNITED STATES DISTRICT COURT

 2                                          DISTRICT OF NEVADA

 3                                                      ***

 4

 5   UNITED STATES OF AMERICA

 6                         Plaintiff,                       2:12-cr-00118-GMN-VCF

 7   vs.                                                    ORDER

 8   MICHAEL CHARLES GARCIA, et al.,
                                                            [Letter from Michael Garcia and Katrina Garcia
 9                         Defendant.                       (#34) and Notice of Entry of Appearance by
                                                            Katrina Garcia (#35)]
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11          Before the undersigned Magistrate Judge are: (1) a Letter from Michael Garcia and Katrina

12   Garcia regarding representation (#34) and (2) a Notice of Entry of Appearance by Katrina Garcia (by

13   Power of Attorney) as to Defendant Michael Garcia (#35).

14          Katrina Garcia, mother of defendant Michael Garcia, is attempting to appear as his defense

15   counsel in this case. Katrina Garcia is not an attorney. The Ninth Circuit has held that although a

16   plaintiff may appear pro se on his or her own behalf, an individual “has no authority to appear as an

17   attorney for others than himself.” Johns v. County of San Diego, 114 F.3d 874, 876 (9th Cir. 1997)

18   (citing United States v. Mitchell, 915 F.2d 521, 526 n.8 (9th Cir. 1990)) (quoting C.E. Pope Equity Trust

19   v. United States, 818 F.2d 696, 697 (9th Cir. 1987). On April 13, 2012, Defendant asserted his

20   Constitutional Right to Counsel and requested appointment of a lawyer to represent him based on his

21   inability to pay. The Federal Public Defender was appointed to represent Defendant (#’s 6, 8, 9).

22   William C. Carrico is defendant’s counsel of record.

23          U. S. District Court of Nevada Local Rules IA 10-1 through 10-7 regulate the practice of law in

24   our court. With the exception of law students certified pursuant to LR IA 10-5 and supervised by an

25   attorney, only licensed attorneys may represent parties to any criminal or civil action. Katrina Garcia is
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 1   not an attorney. Counsel of record for Mr. Garcia remains William C. Carrico of the Federal Public

 2   Defender’s Office.

 3          IT IS HEREBY ORDERED that Mr. Garcia’s and Ms. Garcia’s letter requesting that Katrina

 4   Garcia be permitted to represent her son in this matter (#34) is DENIED.

 5          IT IS FURTHER ORDERED that the Notice of Entry of Appearance (#35) is STRICKEN.

 6          DATED this 31st day of October, 2012.

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 9                                                              CAM FERENBACH
                                                                UNITED STATES MAGISTRATE JUDGE
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